







		NO. 12-09-00140-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



TONY WHITE a/k/a ANTHONY WHITE,§
	APPEAL FROM THE 7TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	Appellant pleaded guilty to possession of a controlled substance with intent to deliver.
Sentence was imposed on March 23, 2009.  We have received the trial court's certification showing
that this is a plea bargain case and Appellant has no right to appeal.  See Tex. R. App. P. 25.2(d). 

	A defendant in a plea bargain case has only a limited right to appeal.  See Tex. R. App. P.
25.2(2).  A plea bargain case is one in which a defendant pleaded guilty or nolo contendere and the
punishment did not exceed the punishment recommended by the prosecutor and agreed to by the
defendant.  Id.  In such cases, a defendant may appeal only (1) those matters that were raised by
written motion filed and ruled on before trial, or (2) after getting the trial court's permission to
appeal.  Tex. R. App. P. 25.2(2)(A), (B).  Here, the record does not show that the trial court ruled on
any of Appellant's pretrial motions prior to the entry of his guilty plea or that the trial court gave
Appellant permission to appeal.  Therefore, the record supports the trial court's certification.  See
Greenwell v. Thirteenth Court of Appeals, 159 S.W.3d 645, 649 (Tex. Crim. App. 2005); Dears
v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App. 2005).  Moreover, we note that the record
includes a signed, written waiver of Appellant's right to appeal, signed by Appellant and his counsel. 
Accordingly, the appeal is dismissed for want of jurisdiction.

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




(DO NOT PUBLISH)


